         Case 1:17-cv-07572-ALC Document 216 Filed 07/11/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT INSTITUTE
 AT COLUMBIA UNIVERSITY,

                        Plaintiff,                               No. 1:17-cv-07572-ALC

        v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY, U.S. CUSTOMS AND BORDER
 PROTECTION, U.S. IMMIGRATION AND
 CUSTOMS ENFORCEMENT, U.S.
 CITIZENSHIP AND IMMIGRATION
 SERVICES, U.S. DEPARTMENT OF
 JUSTICE, and U.S. DEPARTMENT OF
 STATE,

                        Defendants.


               MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

       Pursuant to Local Civil Rule 1.4, the undersigned counsel, Megan Graham, respectfully

moves to withdraw as counsel for Plaintiff in this matter because she will be leaving the

Samuelson Law, Technology & Public Policy Clinic in the coming weeks. Attorneys from the

Knight First Amendment Institute at Columbia University will continue to represent Plaintiff in

this matter, and no party will be prejudiced if this motion is granted.
        Case 1:17-cv-07572-ALC Document 216 Filed 07/11/23 Page 2 of 2




Dated: July 11, 2023                   Respectfully submitted,

                                        s/ Megan Graham
                                       Megan Graham (5400460)
                                       Samuelson Law, Technology &
                                           Public Policy Clinic
                                       353 Law Building
                                       UC Berkeley School of Law
                                       Berkeley, CA 94720-7200
                                       mgraham@clinical.law.berkeley.edu
                                       (510) 664-4381




                                      2
